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                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 USA,

 Plaintiff(s),
                                                     Case No. 09 CR 383-22
 v.                                                  Judge Sharon Johnson Coleman

 Ovidio Guzman Lopez,

 Defendant(s).

                                           ORDER

Initial Appearance held. Arraignment held. Defendant appeared in custody after being extradited
on 9/15/2023. Attorney Jeffrey Lichtman appears as retained counsel for defendant. Defendant
waives formal reading and enters plea of not guilty to the twelfth superseding indictment.
Defendant waives detention hearing at this time. Defendant remanded into U.S. Marshal custody.
Rule 16.1 conference to be held by 9/25/2023. Status hearing set to 11/17/2023 at 10:45 a.m. as
an in-person hearing. Time excluded to 11/17/2023 pursuant to 18 U.S.C. § 3161 (h)(7)(B)(i)
with no objections. (X-T).

(T:00:15)




Date: 9/18/2023                                    /s/Sharon Johnson Coleman
                                                   Sharon Johnson Coleman
                                                   United States District Judge
